






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00520-CR







Edward A. Kohler, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 29,744, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Edward A. Kohler is in prison, apparently serving the sentence imposed at his 1981
trial for aggravated sexual assault.  On July 6, 2006, the Honorable Joe Carroll wrote a letter to
Kohler informing him that his request for a bench warrant was denied.  On August 1, Judge Carroll
wrote a letter to Kohler telling him that his request for a phone conference was denied.  On August
15, Kohler filed a pro se notice of appeal from these orders.

As a general rule, this Court has criminal appellate jurisdiction only from judgments
of conviction.  See Workman v. State, 343 S.W.2d 446, 447 (Tex. Crim. App. 1961).  We do not
have jurisdiction except as expressly granted by law.  See Apolinar v. State, 820 S.W.2d 792, 794
(Tex. Crim. App. 1991); McKown v. State, 915 S.W.2d 160, 161 (Tex. App.--Fort Worth 1996, no
pet.).  We have found no statute that vests this Court with jurisdiction over a direct appeal from the
orders in question.

In the absence of an appealable order, the appeal is dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   October 18, 2006

Do Not Publish

				


